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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO




S.E.B.M., a minor, by and through her next friend,
MARIA MENDEZ FELIPE,

                Plaintiff,                                          No. 21-cv-00095-JHR-LF

         v.

THE UNITED STATES OF AMERICA,

                Defendant.


                       CORRECTION TO STIPULATED MOTION
                               TO HOLD ACTION
                 IN ABEYANCE FOR AN ADDITIONAL SIXTY (60) DAYS

         Plaintiff and Defendant United States of America, constituting all parties appearing in

this action, through undersigned counsel of record hereby jointly file this corrected motion in

order to fully apprise the Court of the status of this case and the need for the stay of

proceedings.

         1.    On Wednesday, December 15, 2021, the parties moved this Court to extend the

stay of proceedings for sixty days, or until February 15, 2021. (Doc. 32) As grounds for the

stay, the parties explained that the negotiations that had commenced in May of 2021 for a

global settlement of all pending Family Separation FTCA federal court actions and

administrative claims were ongoing. Additionally, the Plaintiff requested additional time to

find local co-counsel because co-counsel David Urias has been nominated to the federal

bench.
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       2.     At the time the parties filed the joint motion, all of the undersigned counsel were

of the belief that the negotiations with the United States were ongoing and progressing and

that additional time was needed due to the complexity and breadth of the settlement process.

This representation was made to this Court in good faith.

       3.     The following day, Thursday December 16, 2021, the Department of Justice

notified all those who were participating in the settlement discussions that the negotiations had

concluded, thus, those grounds no longer pertain.

       4.     Irrespective of the end of the settlement discussions, the Plaintiff still has the

need to find replacement local counsel and for that reason continues to request the additional

60 days to do so.

Respectfully submitted this 20th day of December 2021.

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